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                      UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 LEXINGTON INSURANCE CO.             :   CIVIL NO. 1:06-CV-0437
                                     :
                                     :
                Plaintiff            :   (Magistrate Judge Smyser)
                                     :
       v.                            :
                                     :
 Q-E MANUFACTURING, CO.,             :
 INC., et al.,                       :
                                     :
                                     :
                Defendants           :




                            MEMORANDUM AND ORDER


       This is an interpleader action.        The plaintiff is
 Lexington Insurance Company, an insurance company
 incorporated in Delaware with offices in Massachusetts.
 The thirty-six1 named defendants are companies that on
 December 21, 2004 had personal property located in the
 property of Electro-Platers of York, Inc. that was damaged
 in a fire on that date.         The plaintiff had issued an
 insurance policy to Electro-Platers.         The policy provided
 inter alia coverage of $100,000 for losses of and damages
 to the personal property of others.         The defendants do not
 share the residency of the plaintiff and jurisdiction is
 asserted based on diversity of citizenship.          We find that
 the court has jurisdiction under 28 U.S.C. § 1332(d)(1).




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           We are informed by the plaintiff that Machined Products
Company and Machinery Products Corporation are one and the same.
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        The interpleader complaint is brought by the
plaintiff to give rise to a forum for the plaintiff to
equitably distribute the policy coverage amount and for
the claimants under the policy to interplead and prove
their entitlement to proceeds under the policy.           The
plaintiff seeks a discharge of the plaintiff from all
liability except to the persons and in the amounts
adjudged by the court.


        The parties have consented to 28 U.S.C. § 636(c)
jurisdiction of a magistrate judge.        (Docs. 21, 23).


        By Order of July 28, 2006, the plaintiff’s motion for
partial summary judgment was granted.         The court found
that there is not shown to be any material issue of fact
in dispute in relationship to the issue of the
applicability of the “made whole” doctrine, that the issue
of the applicability of the “made whole” doctrine is an
issue of law, and that the doctrine is applicable in this
case.    On that basis it was ordered that claimants have
priority over insurers of claimants to recover their
proven uninsured damages; that the claimants would be paid
a pro rata share of their proven uninsured damages on the
basis of the plaintiff’s apportionment of the $100,000
policy limit pro rata according to the total proven
uninsured losses of all claimants and the pro rata
percentage share of each claimant; that claims by insurers

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of claimants would be stayed pending the determination of
the total amount of valid uninsured claims by claimants;
that only in the event that each claimant were to be made
whole from the Policy sub-limit of $100,000.00 for
Personal Property of Others would claimants’ insurers be
entitled to pursue “step-into-the-shoes” subrogation of
amounts paid to their insureds from the Policy sub-limit
of $100,000.00 for “personal property of others”; and that
the court would reserve decision on the application of the
“other insurance” clause and all other issues.


      On August 31, 2006 the plaintiff filed a motion (Doc.
54) for the distribution of the policy’s $100,000.00
coverage among twenty-three (23) claimants according to
the following distribution:



 Claimant               Actual Cash Value   Pro-rata Payment from
                        Uninsured Amounts   Policy Sub-Limit: 67.075%

 AMMAC, Inc.                    $1,000.00                       $670.75

 ATI Performance               $14,871.12                   $9,974.80
 Products

 B/A Products Co.               $8,689.98                   $5,828.80

 Davies Precision               $1,540.00                   $1,033.00
 Machine, Inc.

 Fairlawn Tool & Die            $1,000.00                       $670.75
 Co., Inc.

 Fastenal Company              $22,007.85                  $14,761.80

 Fenner Drives                 $33,380.00                  $22,389.65

 Germantown Tool &              $5,000.00                   $3,353.75
 Machine Works, Inc.




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 Industrial                     $1,000.00                       $670.75
 Fabrications, Inc.

 J. Thomas, Ltd.                $1,000.00                       $670.75

 John R. Bromiley               $2,500.00                  $1,676.90
 Company, Inc.

 Johnson Bros. Machine          $4,613.05                  $3,094.20
 Co.

 JTB Machining                    $250.00                       $167.70

 Keystone Machine,              $1,662.17                  $1,114.90
 Inc.

 M.S. Willett, Inc.             $5,000.00                  $3,353.75

 New Standard                   $9,463.72                  $6,347.80
 Corporation

 Q-E Manufacturing              $1,365.00                       $915.60
 Company

 Quickie Manufacturing          $5,000.00                  $3,353.75
 Corp.

 Sun Automation Group           $2,945.25                  $1,975.55

 Tobias Associates,               $500.00                       $335.40
 Inc.

 TYCO Electronics              $23,470.89                 $15,743.10
 Corporation

 Velter Products, Inc.          $1,000.00                       $670.75

 Wingard + Company              $1,827.50                  $1,225.80

 Total Uninsured              $149,086.53                $100,000.00
 Claims




      A certification of consent (Doc. 55) was filed on
September 5, 2006.


      There is no portion of the interpleaded fund
available for payment to insurers of claimants.           There is
no argument presented concerning the fact of payment to


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any particular claimant or concerning the amount of any
particular payment.


      IT IS ORDERED upon consideration of the plaintiff’s
motion to distribute the $100,000.00 sub-limit for
personal property of others contained in the insurance
policy issued by plaintiff to Electro-Platers of York,
Inc. at Policy Number 310 90 76 to claimants asserting
claims for damages to personal property in the care,
custody and control of Electro-Platers of York by fire at
its manufacturing facility on or about December 21, 2004,
that plaintiff’s proposed distribution is approved and
adopted and that the plaintiff shall distribute the Policy
Sub-Limit for Personal Property of Others of $100,000.00
to the claimants as full and final satisfaction and
payment of all sums due under the Policy within thirty
days of this Order:



      Claimant                         Pro-rata Payment from
                                       Policy Sub-Limit: 67.075%

      AMMAC, Inc.                                        $670.75

      ATI Performance Products                         $9,974.80

      B/A Products Co.                                 $5,828.80

      Davies Precision Machine, Inc.                   $1,033.00

      Fairlawn Tool & Die Co., Inc.                      $670.75

      Fastenal Company                                $14,761.80

      Fenner Drives                                   $22,389.65

      Germantown Tool & Machine                        $3,353.75
      Works, Inc.


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      Industrial Fabrications, Inc.                     $670.75

      J. Thomas, Ltd.                                   $670.75

      John R. Bromiley Company, Inc.                  $1,676.90

      Johnson Bros. Machine Co.                       $3,094.20

      JTB Machining                                     $167.70

      Keystone Machine, Inc.                          $1,114.90

      M.S. Willett, Inc.                              $3,353.75

      New Standard Corporation                        $6,347.80

      Q-E Manufacturing Company                         $915.60

      Quickie Manufacturing Corp.                     $3,353.75

      Sun Automation Group                            $1,975.55

      Tobias Associates, Inc.                           $335.40

      TYCO Electronics Corporation                   $15,743.10

      Velter Products, Inc.                             $670.75

      Wingard + Company                               $1,225.80

      Total Uninsured Claims                        $100,000.00




      IT IS FURTHER ORDERED that the claimants’ insurers’
“step-into-the-shoes” subrogation claims against the
Policy are hereby dismissed with prejudice.




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        IT IS FURTHER ORDERED that the Clerk shall close this
case.




                                        /s/ J. Andrew Smyser
                                        J. Andrew Smyser
                                        Magistrate Judge

Dated:    September 8, 2006.




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